Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 1 of 26 Page ID #:1



 1   GERALD SINGLETON (208783)
     gsingleton@singletoschreiber.com
 2   MIKAL C. WATTS (PRO HAC FORTHCOMING)
     mcwatts@wattsguerra.com
 3   ALICIA D. O’NEILL (PRO HAC FORTHCOMING)
     aoneill@wattsguerra.com
 4   ATTORNEY’S FOR PLAINTIFFS

 5
                                 UNITED STATES DISTRICT COURT
 6                              CENTRAL DISTRICT OF CALIFORNIA

 7                                                           )
     CHRISTINA CORRELL, INDIVIDUALLY                         ) Civil Action No.:
 8   AND AS GUARDIAN AD LITEM TO J.C.,                       )
     MINOR                                                   )
 9                                                           )
     Plaintiff(s),                                           ) COMPLAINT & JURY DEMAND
10                                                           )
     v.                                                      )
11                                                           )
     CVS Health Corporation and Rite Aid                     ) DEMAND FOR JURY TRIAL
12   Corporation,                                            )
                                                             )
13   Defendants.                                             )
                                                             )
14

15                   PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

16           Plaintiff Christina Correll individually and as representative of J.C., a minor, pursuant to

17   Fed. R. Civ. P. 17(c)(1)(A), by and through their undersigned counsel, bring this Complaint for

18   damages against Defendants CVS Health Corporation and Rite Aid Corporation, (hereinafter,

19   “Defendants”) and in support, state the following:

20           1.       This is an action brought on behalf of Plaintiffs, Christina Correll (hereinafter,

21   “Plaintiff Mother”), the natural and general guardian and mother of J.C. (hereinafter, “Plaintiff

22   Child”), a minor, arising out of the failure of Defendants to warn about the dangers of prenatal

23   exposure to Paracetamol, also known as Acetaminophen (hereinafter “APAP”). As a result,

24   Plaintiffs have suffered permanent injuries and significant pain and suffering, emotional

25   distress, lost wages and earning capacity, and diminished quality of life. Plaintiffs respectfully

26   seek all damages to which they may be legally entitled.

27           2.       Defendants entirely failed their duty to adequately warn of the hazards of

28   prenatal exposure to APAP, which was a direct and proximate cause of Plaintiffs’ injuries and


                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 2 of 26 Page ID #:2



 1   associated damages.

 2                                    STATEMENT OF PARTIES

 3          3.      At all material times Plaintiffs have been citizens and residents of Los Angeles

 4   County, California.

 5          4.      CVS Health Corporation, is incorporated in Delaware.

 6          5.      Rite Aid Corporation, is incorporated in Pennsylvania.

 7          6.      CVS Health Corporation, is involved in the research, development, testing,

 8   manufacture, labeling, production, marketing, promotion, and/or sale of APAP through its over-

 9   the-counter store brand, Acetaminophen (hereinafter, the “APAP Products”).

10          7.      Rite Aid Corporation, is involved in the research, development, testing,

11   manufacture, labeling, production, marketing, promotion, and/or sale of APAP through its over-

12   the-counter store brand, Acetaminophen (hereinafter, the “APAP Products”).

13          8.      CVS Health Corporation, is individually, and jointly and severally liable to

14   Plaintiffs for damages they suffered, arising from Defendants’ design, manufacture, marketing,

15   labeling, distribution, sale, and placement of the defective APAP Products into the market,

16   effectuated directly and indirectly through its agents, servants, employees, and/or owners, all

17   acting within the course and scope of its agencies, services, employments, and/or ownership.

18          9.      Rite Aid Corporation, is individually, and jointly and severally liable to Plaintiffs

19   for damages they suffered, arising from Defendants’ design, manufacture, marketing, labeling,

20   distribution, sale, and placement of the defective APAP Products into the market, effectuated

21   directly and indirectly through its agents, servants, employees, and/or owners, all acting within

22   the course and scope of its agencies, services, employments, and/or ownership.

23          10.     CVS Health Corporation, is vicariously liable for the acts and/or omissions of its

24   employees and/or agents, who were at all material times acting on behalf of CVS Health

25   Corporation, and within the scope of its employment or agency.

26          11.     Rite Aid Corporation, is vicariously liable for the acts and/or omissions of its

27   employees and/or agents, who were at all material times acting on behalf of Rite Aid

28   Corporation, and within the scope of its employment or agency.
                                                     -2-
                                CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 3 of 26 Page ID #:3



 1                                     JURISDICTION and VENUE

 2          12.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1332(a), based on

 3   complete diversity of citizenship between Plaintiffs and Defendants. See supra ¶¶ 3–4.

 4          13.     The amount in controversy exceeds $75,000.

 5          14.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the events or

 6   omissions giving rise to Plaintiffs’ claims occurred in this judicial district.

 7          15.     Defendants have conducted and continue to conduct substantial business in the

 8   State of California and in this District, distribute the APAP Products in this District, receive

 9   substantial compensation and profits from sales of the APAP Products in this District, and have

10   made material omissions and misrepresentations and breaches of warranties in this District and

11   caused injuries in this District to Plaintiffs, among others, so as to subject Defendants to in

12   personam jurisdiction in this District. It was foreseeable at all times that Defendants could be

13   haled into court in the State of California for its conduct that caused injuries to citizens of

14   California, like Plaintiffs in this action. An exercise of in personam jurisdiction by this Court

15   over Defendants comports fully with due process and does not offend traditional notions of fair

16   play and substantial justice.

17          16.     Defendants are registered to transact business in California.

18                                FACTS COMMON TO ALL COUNTS

19   APAP Is Marketed as the Safe Pain Reliever for Pregnant Women, but APAP Can Cause

20                                        ASD/ADHD in Children

21          17.     APAP is widely used by pregnant women to relieve pain or discomfort during

22   the term of their pregnancy.

23          18.     APAP was initially discovered in the late 1800’s.

24          19.     APAP was introduced to the US market in 1955 as the first aspirin-free pain

25   reliever. APAP was originally marketed and sold as a product to reduce fever in children,

26   packaged like a red fire truck with the slogan, “for little hotheads.”

27          20.     Billions of units of APAP are sold annually in North America alone.

28
                                                      -3-
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 4 of 26 Page ID #:4



 1           21.    APAP has long been marketed as the safest, and the only appropriate, over-the-

 2   counter pain relief drug on the market for pregnant women.

 3           22.    Forty to 65% of pregnant women in the United States use APAP during

 4   pregnancy.

 5           23.    Based upon information and belief, a majority of women who use APAP during

 6   pregnancy do so electively for the treatment of headaches, muscle pain, back pain, and

 7   discomfort.

 8           24.    These pregnant women electively choose to take APAP because Defendants have

 9   marketed APAP as a safe pain reliever for pregnant women.

10           25.    However, scientific and epidemiological research shows that prenatal exposure

11   to APAP alters fetal development significantly increasing the risks of neurodevelopmental

12   disorders, including but not limited to, autism spectrum disorder (“ASD”) and attention-

13   deficit/hyperactivity disorder (“ADHD”).

14           26.    Undisturbed development of the human brain in utero is vital to the health and

15   wellness of a child’s development. The human brain is vulnerable and extremely sensitive in

16   utero. During this sensitive time-period in utero, certain chemicals have been found to cause

17   permanent brain injury at low exposure levels.

18           27.    Once ingested by the mother, APAP is known to readily cross the placenta and

19   blood-brain barrier.

20           28.    ASD is a serious neurological and developmental disorder that affects how

21   people interact with others, communicate, learn, and behave.

22           29.    There are three functional levels of ASD, with Level 1 requiring support with

23   activities of daily living, Level 2 requiring substantial support with activities of daily living, and

24   Level 3 requiring very substantial support with activities of daily living.

25           30.    Treatments for ASD include behavioral management therapy, cognitive behavior

26   therapy, joint attention therapies, medications, occupational therapy, physical therapy, social

27   skill training, and speech-language therapy. Treatment for ASD lasts a lifetime, as there is no

28   cure.
                                                      -4-
                                 CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 5 of 26 Page ID #:5



 1          31.       ADHD is a chronic neurodevelopmental disorder resulting in attention difficulty,

 2   hyperactivity, and impulsiveness.

 3          32.       ADHD begins in childhood and persists through adulthood. ADHD contributes

 4   to low self-esteem, troubled relationships, and difficulty with school, work, and familial

 5   relationships.

 6          33.       Treatments for ADHD, include, but are not limited to, chronic medication usage

 7   and various therapies. Treatment for ADHD lasts a lifetime, as there is no cure.

 8          34.       In or around 2018, the Center for Disease Control and Prevention (“CDC”)

 9   found that 1 in 44 (2.3%) 8-year-old children have been diagnosed with ASD.

10          35.       This represents an increase from a prior CDC finding that 1 in 68 U.S. children

11   born in 2002 have ASD, which already represented a more than a 100% increase compared with

12   children born a decade prior.

13          36.       As of 2019, 8.8% of children had been diagnosed with ADHD, or roughly

14   325,000 children per year.

15          37.       Parental awareness and changes in diagnoses do not fully account for the rapid

16   rise in these diagnoses.

17          38.       Rather, neurotoxic exposures, such as prenatal APAP exposure, partly explain a

18   trending increase in diagnoses.

19          39.       For decades, beginning in 1987, the scientific community has published studies

20   showing that prenatal ingestion of APAP can cause ASD and ADHD.

21          40.       A 2019 meta-analysis of studies from 1987 to 2016, with relative risks ranging

22   from 1.16 to 1.34, found statistically significant nineteen percent (19%) increased risk of ASD

23   in children whose mothers took APAP during pregnancy.

24          41.       Since 2013, there have been six European birth cohort studies, examining over

25   70,000 mother-child pairs, showing the association between prenatal use of APAP and ASD and

26   ADHD, confirming the results of studies dating back to 1987.

27          42.       The overall body of scientific evidence has shown for decades that prenatal use

28   of APAP can cause ASD and ADHD in the child.
                                                     -5-
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 6 of 26 Page ID #:6



 1            43.    During all relevant times herein, Defendants was engaged in the business of

 2   manufacturing and selling the APAP Products in the United States, and the weight of the

 3   scientific evidence available showed prenatal exposure to APAP significantly increases the risk

 4   of neurodevelopmental disorders in children exposed to APAP prenatally, including but not

 5   limited to ASD and ADHD.

 6            44.    At the time Plaintiff Mother was pregnant with Plaintiff Child the scientific

 7   evidence regarding the risks of in utero exposure of APAP was available to Defendants, and

 8   Defendants knew or should have known that prenatal use of APAP can cause ASD or ADHD.

 9            45.    Moreover, despite scientific evidence that prenatal use of APAP can cause ASD

10   or ADHD, Defendants continued and continue, to market APAP Products as safe pain relievers

11   for pregnant women, making mothers believe they are choosing a safe drug for even minor

12   aches, pains, and headaches.

13                         Plaintiff Mother Took APAP Products while Pregnant,

14                                  and It Caused ASD in Plaintiff Child

15            46.    Plaintiff Mother used APAP Products while she was pregnant with Plaintiff

16   Child.

17            47.    Over the course of her pregnancy with Plaintiff Child, and during each trimester,

18   Plaintiff Mother took the APAP Products approximately three to seven times a day for body anf

19   feet aches and pain relief.

20            48.    Plaintiff Mother believed it was safe for her to take APAP Products during her

21   pregnancy.

22            49.    Indeed, Plaintiff Mother was instructed by her health care provider(s) to not take

23   ibuprofen or aspirin while pregnant but was informed she could take APAP freely without risk

24   to Plaintiff Child.

25            50.    There is no warning on the APAP Products’ labels specifically addressing the

26   risks of ASD if a mother ingests APAP while pregnant.

27            51.    Had Plaintiff Mother known of the risk of ASD in her child from taking APAP

28   while pregnant, she would not have taken the APAP Products.
                                                      -6-
                                   CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 7 of 26 Page ID #:7



 1             52.    Plaintiff Child was born on October 21, 2004.

 2             53.    Plaintiff Mother started to have concerns about Plaintiff Child’s development

 3   before he began school. Specifically, at that time, Plaintiff Child exhibited developmental

 4   delays.

 5             54.    Plaintiff Child was diagnosed with autism when he was three years old in

 6   approximately 2007 or 2008.

 7             55.    Plaintiff Child exhibits stimming behaviors in the form of repetitive, unusual

 8   body movements and/or noises like clapping his hands, rocking, and kicking his feet.

 9             56.    Plaintiff Child receives in support services for speech therapy and often

10   repeatedly talks about the same subjects.

11             57.    Plaintiff Child has received special services from his school for ASD since he

12   was five years old.

13             58.    Plaintiff Child requires an immense amount of assistance to complete the normal

14   tasks of his daily life.

15                   ESTOPPEL AND TOLLING OF STATUTE OF LIMITATIONS

16             59.    Due to Defendants’ acts of fraudulent concealment, Defendants are estopped

17   from relying on any statutes of limitations or repose. Such acts include Defendants’ intentional

18   concealment from Plaintiff Mother and the general public that APAP is defective when there is

19   prenatal exposure, while continuing to market the APAP Products with the adverse effects

20   described in this Complaint.

21             60.    Given Defendants’ affirmative actions of concealment by failing to disclose

22   information about the defects known to it but not the public—information over which

23   Defendants had exclusive control—and because Plaintiff Mother could not reasonably have

24   known that the APAP Products were defective, Defendants are estopped from relying on any

25   statutes of limitations that might overwise be applicable to the claims asserted in this

26   Complaint.

27             61.    Plaintiffs, in any event, commenced this action within two years of discovering

28   or having reason to discover their causes of action.
                                                     -7-
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 8 of 26 Page ID #:8



 1                                     CLAIMS FOR RELIEF
 2                     COUNT I: STRICT LIABILITY – FAILURE TO WARN

 3           62.     Plaintiffs restate, reallege, and incorporate by reference the allegations set forth

 4   in the rest of this Complaint as if fully set forth herein.

 5           63.     At the time of Plaintiffs’ injuries, the APAP Products were defective and

 6   unreasonably dangerous to foreseeable consumers using the APAP Products in a foreseeable

 7   manner during pregnancy, including Plaintiff Mother, because they lacked an adequate warning.

 8           64.     At all relevant times, Defendants engaged in the business of testing, developing,

 9   designing, manufacturing, marketing, labeling, selling, distributing, and promoting the APAP

10   Products, which were defective and unreasonably dangerous to consumers, including Plaintiff

11   Mother, because they did not contain adequate warnings or instructions concerning the

12   dangerous characteristics of ingesting APAP during pregnancy. These actions were under the

13   ultimate control and supervision of Defendants. At all relevant times, Defendants registered,

14   researched, manufactured, distributed, marketed, labeled, promoted, and sold the APAP

15   Products within this District and aimed the marketing at the ultimate consumer. Defendants

16   was at all relevant times involved in the retail and promotion of the APAP Products marketed

17   and sold in this District.

18           65.     Defendants had a duty to warn of the risks associated with the use of the APAP

19   products during pregnancy.

20           66.     The APAP Products ingested by Plaintiff Mother during pregnancy were in the

21   same or substantially similar condition as they were when they left possession of the

22   Defendants.

23           67.     Defendants expected and intended the APAP Products to reach users such as

24   Plaintiff Mother in the condition in which the APAP Products were sold.

25           68.     Plaintiff Mother did not materially alter the APAP Products prior to ingestion.

26           69.     Plaintiff Mother ingested the APAP Products during pregnancy as indicated on

27   the APAP Products’ labels.

28
                                                       -8-
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 9 of 26 Page ID #:9



 1          70.     Plaintiff Mother was unaware of the defects and dangers of the APAP Products

 2   during pregnancy and was specifically unaware that prenatal exposure increases the risk of brain

 3   and behavioral development of children in utero.

 4          71.     The labels on the APAP Products to consumers lack any warning specific to

 5   pregnant women. The information that Defendants did provide or communicate to consumers

 6   failed to contain relevant warnings, hazards, and precautions that would have enabled

 7   consumers such as Plaintiff Mother to utilize the products safely and with adequate protection

 8   during pregnancy, or to decide to not use or ingest the APAP Products at all.

 9          72.     This alleged failure to warn is not limited to the information contained on the

10   APAP Products’ labeling. Defendants were able, in accord with federal law, to comply with

11   relevant state law by disclosing the known risks associated with exposure to or use of APAP

12   during pregnancy through other non-labeling mediums, including, but not limited to, promotion,

13   advertisements, public service announcements, and/or public information sources.              But

14   Defendants did not disclose these known risks through any medium.

15          73.     At all relevant times, Defendants had a duty to properly test, develop, design,

16   manufacture, inspect, package, label, market, promote, sell, distribute, maintain, and supply the

17   APAP Products; provide proper warnings for the APAP Products; and take such steps as

18   necessary to ensure the APAP Products did not cause users and consumers, and their children,

19   to suffer from unreasonable and dangerous risks. Defendants had a continuing duty to warn

20   Plaintiff Mother of dangers associated with exposure to or use of APAP during pregnancy.

21   Defendants, as a manufacturer, seller, and/or distributor of pharmaceutical medication, is held to

22   the knowledge of an expert in the field.

23          74.     At the time of manufacture, Defendants could have provided the warnings or

24   instructions regarding the full and complete risks of the APAP Products during pregnancy

25   because Defendants knew or should have known of the unreasonable risks of ASD and ADHD

26   associated with prenatal exposure to and/or the use of such products.

27          75.     At all relevant times, Defendants failed and deliberately refused to investigate,

28   study, test, or promote the safety of the APAP Products, or to minimize the dangers to
                                                    -9-
                                CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 10 of 26 Page ID #:10



 1   consumers of the APAP Products and to those who would foreseeably use or be harmed by the

 2   APAP Products, including Plaintiffs.

 3          76.    Defendants failed to adequately warn consumers, like Plaintiff Mother, about the

 4   significant increased risk of neurodevelopmental disorders in children exposed to APAP

 5   prenatally, including but not limited to ASD and ADHD.

 6          77.    Defendants failed to adequately inform reasonably foreseeable consumers, like

 7   Plaintiff Mother, of the proper usage of the APAP Products.

 8          78.    Even though Defendants knew or should have known that APAP posed a grave

 9   risk of harm to Plaintiff Child, Defendants failed to exercise reasonable care to warn of the

10   dangerous risks associated with use and prenatal exposure.

11          79.    Plaintiff Mother was exposed to the APAP Products during pregnancy without

12   knowledge of their dangerous characteristics.

13          80.    At all relevant times, Plaintiff Mother used and/or was exposed to the use of the

14   APAP Products while using them for their intended or reasonably foreseeable purposes during

15   pregnancy, without knowledge of their dangerous characteristics.

16          81.    Plaintiff Mother could not have reasonably discovered the defects and risks

17   associated with the APAP Products prior to or at the time of Plaintiff consuming APAP during

18   pregnancy.   Plaintiff Mother relied upon the skill, superior knowledge, and judgment of

19   Defendants to know about and disclose serious health risks associated with using the APAP

20   Products.

21          82.    If Plaintiff Mother had been properly warned of the defects, dangers, and risks

22   associated with prenatal exposure to APAP, Plaintiff Mother would have decided to not ingest

23   the APAP Products at all. Defendants’ failure to properly warn of those defects, dangers, and

24   risks associated with prenatal exposure to APAP was a substantial factor in causing Plaintiffs’

25   injuries and damages.

26          83.    Defendants are liable to Plaintiffs for injuries caused by Defendants’ negligent or

27   willful failure, as described above, to provide adequate warnings or other relevant information

28
                                                     - 10 -
                                CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 11 of 26 Page ID #:11



 1   and data regarding the appropriate use of the APAP Products and the risks associated with the

 2   use of APAP.

 3           84.     As a direct and proximate result of Defendants placing defective APAP Products

 4   into the stream of commerce, and Plaintiff Mother’s foreseeable use and ingestion of the APAP

 5   Products during pregnancy, Plaintiff Child was exposed to APAP prenatally, causing him to

 6   develop ASD.

 7           85.     As a direct and proximate result of Defendants placing defective APAP Products

 8   into the stream of commerce, Plaintiffs have suffered permanent injuries, significant pain and

 9   suffering, emotional distress, lost wages and earning capacity, and diminished quality of life.

10   Plaintiffs respectfully seek all damages to which they may be legally entitled.

11                                       COUNT II: NEGLIGENCE

12           86.     Plaintiffs restate, reallege, and incorporate by reference each of the allegations

13   set forth in the rest of this Complaint as if fully set forth herein.

14           87.     Although Defendants had a duty to use reasonable care in testing, developing,

15   designing, manufacturing, marketing, labeling, selling, distributing, promoting, and preparing

16   written instructions and warnings for the APAP Products, Defendants failed to do so.

17           88.     Defendants, directly or indirectly, caused the APAP Products to be sold,

18   distributed, packaged, labeled, marketed, promoted, and/or used by Plaintiff Mother. At all

19   relevant times, Defendants registered, researched, manufactured, distributed, marketed,

20   promoted, and sold the APAP Products within this district and aimed at a consumer market

21   within this district.

22           89.     Defendants knew, or in the exercise of reasonable care should have known, that

23   the APAP Products were defectively and unreasonably designed and/or manufactured, and/or

24   marketed, and were unreasonably dangerous and likely to injure persons that were prenatally

25   exposed to them. Defendants knew or should have known that Plaintiff Mother was unaware of

26   the dangers and defects inherent in the APAP Products when she was ingesting them during her

27   pregnancy with Plaintiff Child.

28
                                                       - 11 -
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 12 of 26 Page ID #:12



 1          90.     At all relevant times, Defendants had a duty to exercise reasonable care in the

 2   marketing, advertisement, promotion, and sale of the APAP Products. Defendants’ duty of care

 3   owed to consumers and the general public included providing accurate, true, and correct

 4   information concerning the risks of using APAP during pregnancy and appropriate, complete,

 5   and accurate warnings concerning the potential adverse effects of APAP and, in particular, the

 6   significantly increased risk of causing neurodevelopmental disorders in children through

 7   prenatal exposure to APAP.

 8          91.     At all relevant times, Defendants knew or, in the exercise of reasonable care,

 9   should have known of the hazards and dangers of APAP ingestion while pregnant and,

10   specifically, the significantly increased risk of causing neurodevelopmental disorders in

11   children through prenatal exposure to APAP.

12          92.     Defendants failed to provide any kind of warning to pregnant consumers, like

13   Plaintiff Mother, about the significantly increased risk of causing neurodevelopmental disorders

14   in children through prenatal exposure to APAP.

15          93.     Accordingly, at all relevant times, Defendants knew or, in the exercise of

16   reasonable care, should have known that use of the APAP Products during pregnancy could

17   cause Plaintiffs’ injuries, and thus, create a dangerous and unreasonable risk of injury to the

18   users of these products, including Plaintiffs.

19          94.     As such, Defendants breached their duty of reasonable care and failed to exercise

20   ordinary care in the design, research, development, manufacture, testing, marketing, labeling,

21   supply, promotion, advertisement, packaging, sale, and distribution of the APAP Products, in

22   that Defendants manufactured and produced defective APAP Products, which carry the

23   significantly increased risk of causing neurodevelopmental disorders in children through

24   prenatal exposure to APAP; knew or had reason to know of the defects inherent in the APAP

25   Products; knew or had reason to know that a user’s or consumer’s use of the APAP Products

26   during pregnancy created a significant risk of harm and unreasonably dangerous side effects;

27   and failed to prevent or adequately warn of these risks and injuries.

28
                                                      - 12 -
                                 CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 13 of 26 Page ID #:13



 1          95.     Defendants had a duty to disclose the truth about the risks associated with

 2   exposure to or use of APAP during pregnancy in its promotional efforts outside of the context

 3   of labeling. Defendants were negligent in its promotion of APAP outside of the labeling

 4   context by failing to disclose material risk information as part of its promotion and marketing of

 5   the APAP Products, including through the internet, television, and print advertisements.

 6          96.     Despite Defendants’ ability and means to investigate, study, and test the APAP

 7   Products and to provide adequate warnings regarding use during pregnancy, Defendants failed

 8   to do so. Indeed, Defendants wrongfully concealed information and further made false and/or

 9   misleading statements concerning the safety and use of APAP.

10          97.     Defendants’ negligence included:

11                  a. Manufacturing, producing, promoting, formulating, creating, developing,

12                      designing, selling, and/or distributing the APAP Products while negligently

13                      and/or intentionally concealing and failing to disclose the results of trials,

14                      tests, and studies of APAP and the significantly increased risk of causing

15                      neurodevelopmental disorders in children through prenatal exposure to

16                      APAP, and, consequently, the risk of serious harm associated with human

17                      use of APAP during pregnancy; and

18                  b. Failing to undertake sufficient studies and conduct necessary tests to

19                      determine whether or not the APAP Products were safe for its intended

20                      consumer use and unborn children; and

21                  c. Failing to provide adequate instructions, guidelines, and safety precautions to

22                      those persons Defendants could reasonably foresee would use the APAP

23                      Products during pregnancy; and

24                  d. Failing to disclose to Plaintiff Mother, users, consumers, and the general

25                      public that use of APAP during pregnancy presents severe risks of

26                      neurodevelopmental disorders in children exposed to APAP prenatally; and

27                  e. Failing to warn Plaintiff Mother, users, consumers, and the general public

28                      that the APAP Products’ risk of harm was unreasonable and that there were
                                                   - 13 -
                                CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 14 of 26 Page ID #:14



 1                      safer and effective alternative medications or treatments available to Plaintiff

 2                      Mother and other users and/or consumers; and

 3                  f. Representing that the APAP Products were safe for their intended purposes

 4                      for pregnant women when, in fact, Defendants knew or should have known

 5                      the APAP Products were not safe for their intended purposes; and

 6                  g. Declining to make or propose any changes to the APAP Products’ labeling or

 7                      other promotional materials that would alert users, consumers, and the

 8                      general public of the risks of APAP, including to pregnant women; and

 9                  h. Advertising, marketing, and recommending the use of the APAP Products

10                      during pregnancy, while concealing and failing to disclose or warn of the

11                      dangers known by Defendants to be caused by the use of or exposure to

12                      APAP; and

13                  i. Continuing to disseminate information to its consumers and the general

14                      public, which indicates or implies that the APAP Products are not unsafe for

15                      pregnant consumer use; and

16                  j. Continuing the manufacture and sale of the APAP Products with the

17                      knowledge that the APAP Products were unreasonably unsafe and dangerous.

18          98.     Defendants knew and/or should have known that it was foreseeable that children

19   such as Plaintiff Child would suffer injuries as a result of Defendants’ failure to exercise

20   ordinary care in the manufacturing, marketing, labeling, distribution, and sale of the APAP

21   Products to pregnant consumers, like Plaintiff Mother.

22          99.     Plaintiff Mother did not know the nature and extent of the injuries that could

23   result in her child from the intended use of and/or exposure to APAP prenatally.

24          100.    Defendants’ negligence was a proximate cause of Plaintiffs’ injuries, i.e., absent

25   Defendants’ negligence, Plaintiff Child would not have developed ASD. That negligence was a

26   substantial factor in causing Plaintiffs’ injuries and damages.

27          101.    Defendants’ conduct, as described above, was reckless. Defendants regularly

28   risked exposing Plaintiff Mother to the APAP Products while pregnant with Plaintiff Child, with
                                                    - 14 -
                                 CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 15 of 26 Page ID #:15



 1   full knowledge of the dangers of the APAP Products and that it could cause ASD in Plaintiff

 2   Child. Defendants made conscious decisions not to redesign, re-label, warn, or inform the

 3   unsuspecting public, including Plaintiff Mother.           Defendants’ reckless conduct therefore

 4   warrants an award of punitive damages.

 5           102.    As a direct and proximate result of Defendants placing the defective APAP

 6   Products into the stream of commerce, Plaintiffs have suffered permanent injuries, significant

 7   pain and suffering, emotional distress, lost wages and earning capacity, and diminished quality

 8   of life. Plaintiffs respectfully seek all damages to which they may be legally entitled.

 9

10                        COUNT III: BREACH OF EXPRESS WARRANTY

11           103.    Plaintiffs restate, reallege, and incorporate by reference each of the allegations

12   set forth in the rest of this Complaint as if fully set forth herein.

13           104.    At all material times, Defendants manufactured, marketed, sold, distributed, and

14   otherwise placed into the stream of commerce the APAP Products. These actions were under

15   the ultimate control and supervision of Defendants.

16           105.    In advertising, marketing, and promoting the APAP Products to consumers, like

17   Plaintiff Mother, Defendants expressly warranted that the APAP Products were safe for use and

18   reasonably fit for their intended purposes, including use by pregnant mothers. In advertising,

19   marketing, and otherwise promoting the APAP Products, Defendants intended for pregnant

20   consumers to rely upon its representations regarding safety and fitness, in an effort to induce

21   them to purchase and consume the APAP Products during pregnancy to relieve pain.

22           106.    Defendants expressly warranted to Plaintiff Mother and pregnant consumers that

23   the APAP Products were safe for ingestion during pregnancy.

24           107.    Defendants had a duty to exercise reasonable care in the research, development,

25   design, testing, packaging, manufacture, inspection, labeling, distributing, marketing,

26   promotion, sale, and release of the APAP Products, including a duty to:

27                   a. ensure that the APAP Products during pregnancy did not cause users and

28                       their unborn children unreasonably dangerous side effects; and
                                                       - 15 -
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 16 of 26 Page ID #:16



 1                  b. warn of dangerous and potentially incurable side effects; and

 2                  c. disclose adverse material facts, such as the true risks associated with the use

 3                      of and exposure to APAP during pregnancy, when making representations to

 4                      users, consumers, and the general public, including Plaintiff Mother.

 5          108.    Defendants had the ability to properly disclose the risks associated with APAP

 6   usage during pregnancy through multiple channels, not just labeling.

 7          109.    At all relevant times, Defendants expressly represented and warranted to the

 8   purchasers of the APAP Products, by and through statements made by Defendants in labels,

 9   publications, brochures, and other written materials intended for consumers and the general

10   public, that the APAP Products were safe to human health and the environment, effective, fit,

11   and proper for their intended use during pregnancy. Defendants advertised, labeled, marketed,

12   and promoted the APAP Products, representing the quality to consumers and the public in such

13   a way as to induce their purchases or use during pregnancy, thereby making an express warranty

14   that the APAP Products would conform to the representations.

15          110.    The representations about the APAP Products, as set forth herein, contained, or

16   constituted affirmations of fact or promises made by the seller to the buyer, which related to the

17   goods and became part of the basis of the bargain, creating an express warranty that the goods

18   would conform to the representations.

19          111.    Defendants breached express representations and warranties made to Plaintiff

20   Mother, with respect to the APAP Products, including the following:

21                  a. Defendants represented through their labeling, advertising, and marketing

22                      materials that the APAP Products were safe for use during pregnancy, and

23                      intentionally withheld and concealed information about the risks of serious

24                      injury associated with use of APAP and by expressly limiting the risks

25                      associated with use during pregnancy within its warnings and labels; and

26                  b. Defendants represented that the APAP Products were safe for use and

27                      intentionally concealed information that demonstrated that APAP carries the

28                      significantly increased risk of causing neurodevelopmental disorders in
                                                   - 16 -
                                CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 17 of 26 Page ID #:17



 1                      children through prenatal exposure to APAP, and that the APAP Products,

 2                      therefore, were not safer than alternatives available on the market.

 3          112.    Plaintiff Mother detrimentally       relied   on   the express     warranties   and

 4   representations of Defendants concerning the safety and/or risk profile of APAP during

 5   pregnancy in deciding to purchase the APAP Products. Plaintiff Mother reasonably relied upon

 6   Defendants to disclose known defects, risks, dangers, and side effects of APAP. Plaintiff

 7   Mother would not have purchased or used the APAP Products during pregnancy had

 8   Defendants properly disclosed the risks associated with the APAP Products, either through

 9   advertising, labeling, or any other form of disclosure.      Defendants’ breach of the express

10   warranties and representations concerning the safety and/or risk profile of APAP during

11   pregnancy was a substantial factor in causing Plaintiffs’ injuries and damages.

12          113.    Plaintiff Mother had no knowledge of the falsity or incompleteness of

13   Defendants’ statements and representations concerning the APAP Products and could not have

14   taken reasonable steps to notify Defendants of those matters or to seek repair or other remedies.

15          114.    Plaintiff Mother used and/or was exposed to APAP during pregnancy as

16   researched, developed, designed, tested, manufactured, inspected, labeled, distributed,

17   packaged, marketed, promoted, sold, or otherwise released into the stream of commerce by

18   Defendants.

19          115.    Had the warnings, labels, advertisements, or promotional material for the APAP

20   Products accurately and adequately set forth the true risks associated with the use of such

21   Products during pregnancy, including Plaintiffs’ injuries, rather than expressly excluding such

22   information, and warranting that the APAP Products were safe for their intended use, Plaintiffs

23   could have avoided the injuries complained of herein.

24          116.    As a direct and proximate result of Defendants’ breach of express warranty,

25   Plaintiffs have suffered permanent injuries, significant pain and suffering, emotional distress,

26   lost wages and earning capacity, and diminished quality of life. Plaintiffs respectfully seek all

27   damages to which they may be legally entitled.

28
                                                    - 17 -
                                CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 18 of 26 Page ID #:18



 1                         COUNT IV: BREACH OF IMPLIED WARRANTY

 2           117.    Plaintiffs restate, reallege, and incorporate by reference each of the allegations

 3   set forth in the rest of this Complaint as if fully set forth herein.

 4           118.    At all material times, Defendants manufactured, marketed, sold, distributed, and

 5   otherwise placed the APAP Products into the stream of commerce.

 6           119.    At all material times, Defendants intended for the APAP Products to be

 7   consumed and ingested by pregnant women, like Plaintiff Mother; and Defendants impliedly

 8   warranted that the APAP Products and their component parts were of merchantable quality,

 9   safe, fit for such use, and adequately tested.

10           120.    Defendants was aware that consumers, including Plaintiff Mother, would

11   consume and ingest the APAP Products as directed by the Products’ labels and promotional

12   materials. Therefore, Plaintiff Mother was a foreseeable user of the APAP Products.

13           121.    But Defendants failed to disclose that APAP has dangerous propensities when

14   used as intended during pregnancy and that use of the APAP Products carries an increased risk

15   of developing severe injuries, including Plaintiff Child’s injuries.

16           122.    The APAP Products were expected to reach, and did in fact reach consumers,

17   including Plaintiff Mother, without substantial change in the condition in which they were

18   manufactured and sold by Defendants.

19           123.    Plaintiff Mother was an intended beneficiary of the implied warranties made by

20   Defendants to purchasers of the APAP Products, including Plaintiff Mother.

21           124.    In reliance upon Defendants’ implied warranties, Plaintiff Mother purchased and

22   used the APAP Products as indicated, and in the foreseeable manner normally intended,

23   recommended, promoted, and marketed by Defendants. The failure of the APAP Products to be

24   of merchantable quality, to be safe or fit for their intended use, or to be adequately tested was a

25   substantial factor in causing Plaintiffs’ injuries and damages.

26           125.    Defendants breached their implied warranties to Plaintiffs in that the APAP

27   Products were not of merchantable quality, nor were they safe or fit for their intended use or

28   adequately tested.
                                                       - 18 -
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 19 of 26 Page ID #:19



 1           126.    The harm caused by the APAP Products far outweighed their benefit, rendering

 2   the APAP Products more dangerous than an ordinary consumer or user would expect and more

 3   dangerous than alternative products.

 4           127.    As a direct and proximate result of Defendants’ breach of implied warranties,

 5   Plaintiffs have suffered permanent injuries, significant pain and suffering, emotional distress,

 6   lost wages and earning capacity, and diminished quality of life. Plaintiffs respectfully seek all

 7   damages to which they may be legally entitled.

 8                  COUNT V: VIOLATION OF CONSUMER PROTECTION LAWS

 9           128.    Plaintiffs restate, reallege, and incorporate by reference each of the allegations

10   set forth in the rest of this Complaint as if fully set forth herein.

11           129.    Plaintiff Mother purchased and used the APAP Products for primarily personal

12   use and pain relief during pregnancy, thereby suffering ascertainable losses as a result of

13   Defendants’ actions in violation of the consumer protection laws.

14           130.    Had Defendants not engaged in the deceptive conduct described in this

15   Complaint, Plaintiff would not have purchased and/or paid for the APAP Products, and

16   Plaintiffs would not have incurred related injury medical costs.

17           131.    Defendants engaged in wrongful conduct and unlawful while at the same time

18   obtaining under false pretenses moneys from Plaintiff for the APAP Products. Those moneys

19   would not have been paid had Defendants not engaged in unfair and deceptive conduct.

20   Plaintiffs actually relied upon Defendants’ misrepresentations and deception concerning the

21   APAP Products.

22           132.    Defendants engaged in the following unfair methods of competition or deceptive

23   acts or practices, which are proscribed by law:

24                   A.      representing that goods or services have characteristics,

25                           ingredients, uses, benefits, or qualities they do not have; and

26                   B.      advertising goods or services with the intent not to sell them as

27                           advertised; and

28
                                                       - 19 -
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 20 of 26 Page ID #:20



 1                   C.      engaging in fraudulent or deceptive conduct creating a likelihood

 2                           of confusion or misunderstanding.

 3            133.   Plaintiffs were injured by the cumulative nature of Defendants’s conduct. The

 4   cumulative effect, directed at patients, physicians, and consumers, was to create demand for and

 5   sell the APAP Products. Each aspect of Defendants’ conduct combined to artificially create

 6   sales of the APAP Products, including to Plaintiff Mother who did, in fact, purchase the APAP

 7   Products.

 8            134.   Defendants had a statutory duty to refrain from unfair or deceptive acts or trade

 9   practices in the design, labeling, development, manufacture, promotion, and sale of the APAP

10   Products.

11            135.   Defendants’ deceptive, unconscionable, or fraudulent representations and

12   material omissions to consumers, including Plaintiff Mother, constitute unfair and deceptive

13   acts and trade practices in violation of the federal and state consumer protection statutes listed

14   below.

15            136.   Defendants’ actions, as complained of in this Complaint, constitute unfair

16   competition or unfair, unconscionable, deceptive, or fraudulent acts or trade practices in

17   violation of the federal and state consumer protection statutes listed below.

18            137.   Defendants has engaged in unfair competition, or unfair or deceptive acts or

19   trade practices, or has made false representations under the following statutes:

20                   •    15 U.S.C. §§ 2301–12 (1982);

21                   •    Cal. Bus. & Prof. Code § 17200, et seq.;

22                   •    Cal. Civ. Code § 1750 et seq.

23            138.   To protect consumers against unfair, deceptive, fraudulent, and unconscionable

24   trade and business practices, and false advertising, Defendants, as the supplier, manufacturer,

25   advertiser, and seller, is subject to liability under the above legislation enacted against unfair,

26   deceptive, fraudulent, and unconscionable consumer sales practices. The California Unfair

27   Competition Law (“UCL”) prohibits “any unlawful, unfair, or fraudulent business act or

28   practice and unfair, deceptive, untrue, or misleading advertising and any act prohibited by”
                                                     - 20 -
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 21 of 26 Page ID #:21



 1   Section 17500 of the California Business and Professions Code.             Section 17500, in trun,

 2   prohibits any untrue or misleading statements made in connection with the sale of goods. The

 3   Consumers Legal Remedies Act (“CLRA”) defines as statutorily unlawful certain unfair

 4   methods of competition and unfair or deceptive practices. Cal. Civ. Code § 1750 et seq.

 5           139.    By knowingly and falsely representing that the APAP Products were fit to be

 6   used for the purposes for which they were intended—when in fact they were defective and

 7   dangerous when used during pregnancy—and by other acts alleged, Defendants violated the

 8   above statutes, enacted to protect consumers against unfair, deceptive, fraudulent, and

 9   unconscionable trade and business practices, and false advertising.

10           140.    Defendants’ actions and omissions are uncured or incurable, deceptive acts under

11   the above legislation.

12           141.    Defendants had actual knowledge of the defective and dangerous conditions of

13   the APAP products but failed to take any action to cure such defective and dangerous

14   conditions.

15           142.    Plaintiff Mother relied upon Defendants’ misrepresentations and omissions in

16   determining which APAP Products (if any) to ingest.

17           143.    Defendants’ deceptive, unconscionable, or fraudulent representations and

18   material omissions to consumers constituted unfair and deceptive acts and practices.

19           144.    By reason of the unlawful acts in which Defendants engaged, and as a direct and

20   proximate result thereof, Plaintiffs have suffered ascertainable losses and damages.

21           145.    As a direct and proximate result of Defendants’ violations of the above-listed

22   legislation, Plaintiffs have sustained economic losses and other damages and are entitled to

23   statutory and compensatory damages, including restitution, in an amount to be proven at trial

24   and civil penalties as permitted by law.

25                        COUNT VI: NEGLIGENT MISREPRESENTATION

26           146.    Plaintiffs restate, reallege, and incorporate by reference each of the allegations

27   set forth in the rest of this Complaint as if fully set forth herein.

28
                                                       - 21 -
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 22 of 26 Page ID #:22



 1          147.    Defendants had a duty to accurately and truthfully represent to consumers,

 2   including to Plaintiff Mother and to the public, that the APAP Products had not been adequately

 3   tested and found to be a safe and effective treatment for pregnant women. Defendants breached

 4   that duty as their representations of the safety of the APAP Products were false. Defendants

 5   intended for consumers like Plaintiff Mother to rely upon that representation, Plaintiff Mother

 6   did justifiably rely on Defendants’ misrepresentations concerning the APAP Products’ high risk

 7   of unreasonable and dangerous adverse side effects when ingested or used during pregnancy.

 8          148.    Defendants failed to exercise ordinary care in the representations concerning the

 9   APAP Products while Defendants were involved in the manufacture, sale, testing, quality

10   assurance, quality control, and distribution in interstate commerce, because Defendants

11   negligently misrepresented the APAP Products’ high risk of unreasonable and dangerous

12   adverse side effects when ingested or used during pregnancy.

13          149.    Defendants also breached their duty in representing to Plaintiff Mother that the

14   APAP Products had no serious side effects when ingested during pregnancy. Defendants

15   intended for consumers like Plaintiff Mother to rely upon that representation, and Plaintiff

16   Mother did justifiably rely upon that representation.

17          150.    Defendants knew or had reason to know that the APAP Products had been

18   insufficiently tested or had not been tested at all; and that they lacked adequate and accurate

19   warnings, and created a high risk, or a higher than acceptable reported and represented risk, of

20   adverse side effects. Those side effects include neurodevelopmental disorders in children, such

21   as ASD and ADHD. Thus, Defendants lacked reasonable ground for believing the

22   representations to be true and intended for consumers like Plaintiff to rely upon those

23   misrepresentations by purchasing the APAP products for use during pregnancy.           Plaintiff

24   Mother justifiably relied upon those misrepresentations in purchasing and using the APAP

25   products while pregnant.     Defendants’s negligent misrepresentations concerning the safety

26   and/or risk profile of using APAP during pregnancy was a substantial factor in causing

27   Plaintiffs’ injuries and damages.

28
                                                    - 22 -
                                CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 23 of 26 Page ID #:23



 1           151.    As a direct and proximate result of Defendants’s negligent misrepresentation,

 2   Plaintiffs have suffered permanent injuries, significant pain and suffering, emotional distress,

 3   lost wages and earning capacity, and diminished quality of life. Plaintiffs respectfully seek all

 4   damages to which they may be legally entitled.

 5                                         PUNITIVE DAMAGES

 6           152.    Plaintiffs restate, reallege, and incorporate by reference each of the allegations

 7   set forth in the rest of this Complaint as if fully set forth herein.

 8           153.    Defendants have acted with malice through despicable conduct that exhibits a

 9   willful and conscious disregard for the rights and safety of others, including Plaintiffs, and has

10   acted with oppression in subjecting Plaintiffs to cruel and unjust hardship in conscious disregard

11   of their rights. Further, Defendants have intentionally misrepresented or concealed material

12   facts known to it with the intention of causing injury or otherwise depriving Plaintiffs of their

13   property or legal rights.

14           154.    Defendants failed to adequately test and study the APAP Products to determine

15   and ensure that the APAP Products were safe and effective for use during pregnancy before

16   releasing them for sale for human consumption.

17           155.    Further, Defendants continued to manufacture and sell the APAP Products and

18   marketed them for use during pregnancy, even after obtaining knowledge and information that

19   the APAP Products were defective and unreasonably unsafe because they, among other things,

20   did not include adequate warnings.

21           156.    Defendants was aware of the probable consequences of the dangerous and

22   defective product, including the risk of neurodevelopmental disorders in children, such as ASD

23   and ADHD, when they suffered prenatal exposure.

24           157.    At all material times, Defendants knew or should have known that the APAP

25   Products were inherently dangerous with respect to the following: the risk of

26   neurodevelopmental disorders in children, such as ASD and ADHD, when they suffered

27   prenatal exposure; pain and suffering; loss of life’s enjoyment; and unsuccessful treatments to

28
                                                       - 23 -
                                  CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 24 of 26 Page ID #:24



 1   cure the conditions proximately related to the use of the APAP Products, as well as the other

 2   permanent and lasting severe personal injuries.

 3          158.    Defendants knowingly withheld material information from consumers and the

 4   public, including Plaintiff Mother, concerning the safety and efficacy of the APAP Products

 5   during pregnancy, which deprived Plaintiff Mother of vitally necessary information with which

 6   to make a fully informed decision about whether to use the APAP Products while pregnant.

 7          159.    At all material times, Defendants also knew and recklessly and/or intentionally

 8   disregarded the fact that the APAP Products, when used during pregnancy, can cause

 9   debilitating and life-altering side effects with greater frequency than safer alternative methods,

10   products, and/or treatments. But Defendants recklessly failed to advise the medical community

11   and the general public, including Plaintiff Mother, of that fact.

12          160.    At all material times, Defendants intentionally misstated and misrepresented

13   data; and Defendants continue to misrepresent data so as to minimize the perceived risk of

14   injuries and the rate of complications caused by or associated with the APAP Products.

15          161.    Notwithstanding the foregoing and the growing body of knowledge and

16   information regarding the true and defective nature of the APAP Products, with their increased

17   risk of side effects and serious complications, Defendants continue to aggressively market the

18   APAP Products to consumers, including the pregnant community at large, without disclosing

19   the true risk of the complications and side effects.

20          162.    When Plaintiff Mother consumed the APAP Products and since then, Defendants

21   have known the APAP Products were defective and unreasonably dangerous without an

22   adequate warning.     But Defendants continued to manufacture, produce, assemble, market,

23   distribute, and sell the APAP Products to the pregnant community so as to maximize sales and

24   profits at the expense of the health and safety of expecting mothers in a conscious, reckless,

25   and/or intentional disregard of the likely and foreseeable harm caused by the APAP Products to

26   members of the public, including Plaintiffs.

27          163.    At all material times, Defendants has concealed and/or failed to disclose to the

28   public the serious risks and the potential complications associated with the APAP Products, so
                                                     - 24 -
                                 CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 25 of 26 Page ID #:25



 1   as to ensure continued and increased sales and profits and to the detriment of the public,

 2   including Plaintiffs.

 3          164.    Defendants’ acts and omissions are of such character and nature so as to entitle

 4   Plaintiffs to an award of punitive damages in accordance with applicable statutory and common

 5   law. Defendants’ conduct shows malice, oppression, or fraud, or that entire want of care,

 6   raising the presumption of conscious indifference to consequences of that conduct, thereby

 7   justifying an award of punitive damages.

 8          WHEREFORE, Plaintiffs demand judgment against Defendants individually, and jointly

 9   and severally. Plaintiffs also request compensatory damages, punitive damages, or enhanced

10   compensatory damages, together with interest, costs of suit, attorneys’ fees, and such further

11   relief as the Court deems equitable and just.

12                                       PRAYER FOR RELIEF

13          Plaintiffs demand judgment against Defendants, individually, and jointly and severally,

14   and prays for the following relief in accordance with applicable law and equity:

15          i.      Compensatory damages to Plaintiffs for past, present, and future

16                  damages, including pain and suffering for severe and permanent personal

17                  injuries sustained by Plaintiffs, permanent impairment, mental pain and

18                  suffering, loss of enjoyment of life, health and medical care costs,

19                  economic damages, together with interest and costs as provided by law;

20                  and

21          ii.     Restitution and disgorgement of Defendants’s profits; and

22          iii.    Punitive or enhanced compensatory damages; and

23          iv.     Reasonable attorneys’ fees as provided by law; and

24          v.      Past and future costs of all proceedings; and

25          vi.     All ascertainable economic damages; and

26          vii.    Prejudgment interest on all damages as allowed by law; and

27          viii.   Such other and further relief as this Court deems just and proper.

28
                                                     - 25 -
                                 CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
Case 2:22-cv-05276-JLS-GJS Document 1 Filed 07/29/22 Page 26 of 26 Page ID #:26



 1                                  DEMAND FOR JURY TRIAL

 2         Plaintiffs hereby demands a trial by jury on all issues so triable.

 3       Dated: July 27, 2022                     Respectfully submitted,
 4

 5
                                                  Gerald Singleton
 6                                                California State Bar No. 208783
                                                  gsingleton@singletonschreiber.com
 7                                                Singleton Schreiber, LLP
                                                  2945 Townsgate Rd.
 8                                                Westlake Village, Suite 200
                                                  Thousand Oaks, CA 91361
 9                                                Direct: (805) 256-1116

10                                                Mikal C. Watts (Pro Hac Forthcoming)
                                                  Texas State Bar No. 20981820
11                                                mcwatts@wattsguerra.com
                                                  Alicia D. O’neill (Pro Hac Forthcoming)
12                                                Texas State Bar No. 24040801
                                                  aoneill@wattsguerra.com
13                                                Watts Guerra LLC
                                                  5726 W. Hausman Dr., Suite 119
14                                                San Antonio, Texas 78249
                                                  Direct: (210) 447-0500
15
                                                  ATTORNEYS FOR PLAINTIFFS
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   - 26 -
                                CIVIL COMPLAINT FOR DAMAGES AND JURY DEMAND
